  CASE 0:21-cv-01039-SRN-TNL   Doc. 212   Filed 04/13/23   Page 1 of 31




Ebnet Declaration Exhibit 1
               Filed under Seal
      CASE 0:21-cv-01039-SRN-TNL                  Doc. 212       Filed 04/13/23        Page 2 of 31




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


 Mayo Foundation for Medical Education
 and Research,

                  Plaintiff/Counterclaim
                  Defendant,
                                                                    Case No. 21-cv-1039 (SRN/TNL)
 v.

 Knowledge to Practice, Inc.,                                  This report has been marked
                                                            “Attorney’s Eyes Only” because it
                  Defendant/Counterclaim                   references materials marked as such
                  Plaintiff.




                          EXPERT REPORT OF MARK LANTERMAN

        1.       My name is Mark Lanterman.1 I am the Chief Technology Officer of

Computer Forensic Services (“CFS”) located in Minneapolis, Minnesota. CFS and I were

retained by counsel for Defendant/Counterclaim Plaintiff, Knowledge to Practice, Inc.

(“K2P”) to evaluate whether the Mayo Foundation for Medical Education and Research

(“Mayo”) incorporated specific features and functionality of K2P’s platform into its own

MedEd Manager platform.

        2.       Based on the materials provided to me, and consistent with the facts and

opinions outlined in this report, there is evidence to indicate that Mayo looked to the

programmed functionality of K2P’s platform to develop its own product, MedEd


1 Neither my compensation nor CFS’s compensation is dependent upon the substance of my opinions or

outcome of this case. Attached as Exhibit A is my CV, a list of cases in which I have testified in the last
four years, as well as a list of articles I have published over the past 10 years.


                                                      1
        CASE 0:21-cv-01039-SRN-TNL        Doc. 212   Filed 04/13/23   Page 3 of 31




Manager, with the assistance of its web development partner, Corporate Web Services

(“CWS”).

   I.         Expert background

         3.     CFS specializes in the analysis of digital evidence in civil and criminal

litigation. I have over 30 years of experience in computer forensics and cybersecurity.

Prior to joining CFS, I was a sworn investigator for the United States Secret Service

Electronic Crimes Task Force and acted as its senior computer forensic analyst.

         4.     I am certified by the United States Department of Homeland Security as a

“Seized Computer Evidence Recovery Specialist,” as well as certified in computer

forensics by the National White-Collar Crime Center. Both federal and state court judges

have appointed me as a neutral computer forensic analyst or special master.

         5.     As part of my work with CFS, I am regularly asked to provide opinions

about the functionality and operations of applications, including the analysis of source

code (e.g., computer instructions).

         6.     I graduated from Upsala College with both a Bachelor of Science and a

Master’s degree in computer science. I completed my post graduate work in cyber

security at Harvard University.

         7.     I am currently adjunct faculty of computer science for the University of

Minnesota Technological Leadership Institute’s Master of Science and Security

Technologies program (MSST). I am faculty at Hamline University and a professor of

cybersecurity at the University of St. Thomas School of Law. I am also faculty for the




                                             2
       CASE 0:21-cv-01039-SRN-TNL            Doc. 212    Filed 04/13/23     Page 4 of 31




National Judicial College in Reno, Nevada and the Federal Judicial Center in Washington,

D.C.

         8.       I have previously provided training or delivered keynote addresses for the

United States Supreme Court; the Eleventh Circuit Federal Judicial Conference; the

Eighth Circuit Federal Judicial Conference; the Southern District of Georgia; the Western

District of Tennessee; and several state judicial conferences. I delivered the keynote

address at the Chief Justices’ Conference in Newport, Rhode Island and at Georgetown

Law School’s advanced e-discovery conference.

         9.       I was appointed by the Minnesota Supreme Court to serve as a member of

Minnesota’s Lawyers Professional Responsibility Board (“LPRB”). I currently serve on

the LPRB’s Rules and Opinion Committee.

         10.      I am a co-author of the Minnesota State Bar’s e-Discovery Deskbook, and I

also write monthly articles for Minnesota Bench & Bar magazine.

         11.      CFS is the exclusive, contracted computer forensic service provider for the

Hennepin County Sheriff’s Office and the Metropolitan Airports Commission, also

known as the Minneapolis/Saint Paul International Airport. CFS is also partnered with

the U.S. Secret Service to assist with its electronic investigations.

         12.      CFS holds a corporate private detective license issued by the Minnesota

Board of Private Detective and Protective Agent Services (License No. 2341). I am CFS’

Qualified Representative/Minnesota Manager for the license.

   II.         Materials Considered

         13.      A list of the materials I reviewed and considered in preparing this report is




                                                3
     CASE 0:21-cv-01039-SRN-TNL            Doc. 212     Filed 04/13/23    Page 5 of 31




attached as Exhibit B. Generally, these materials consist of information exchanged by the

parties during litigation.

       14.      In addition to the discovery, on December 1, 2022, I was provided with

credentials (usernames and passwords) to access three (3) online learning platforms for

the purpose of evaluating the platforms from the perspective of a user. I was provided

access to:

             a. The K2P portal;
             b. The Mayo CV course portal (the “Mayo platform”);
             c. The Mayo internal medicine course.

       15.      I reserve the right to supplement or amend this report should additional

information be made available, or if additional details are requested.

       16.      While I was provided access to the portals generally describe above, I note

that I was not provided with any source material for evaluation, such as the code, coded

algorithms, or other “back-end” information that is not necessarily observable by simply

accessing the portals as a user.

       17.      I was retained by Merchant & Gould to evaluate the discovery, as well as

Mayo’s MedEd Manager and K2P’s platform, and provide an opinion about whether

Mayo relied upon or otherwise derived functionality from K2P and incorporated such

functionality in the MedEd Manager learning portal.

       18.      I am generally familiar with the factual allegations presented in this case.

       19.      I understand that K2P is a medical education company that provides online

professional medical education and board review courses. (Knowledge to Practice’s

Answer and Counterclaim (“Counterclaim”), p. 10, ¶ 14.) I understand that it delivers


                                               4
     CASE 0:21-cv-01039-SRN-TNL           Doc. 212    Filed 04/13/23     Page 6 of 31




these courses through the K2P Platform. (Id. at p. 13, ¶¶ 30-31.) The K2P Platform is

accessed online by students who register for K2P courses.

       20.    I understand further that the K2P Platform user experience and user

interface was created after extensive development efforts. (Id. at p. 10-13, ¶¶ 16-33.)

       21.    Mayo is part of the Mayo Clinic, and in addition to being a treating hospital,

Mayo also provides education. Of relevance for the purposes of this report are Mayo’s

educational offerings in Cardiovascular medicine and Internal medicine.

       22.    Prior to partnering with K2P, these courses were live offerings, wherein

learners would come to Mayo’s Rochester campus for a multi-day live course during

which they would sit in an auditorium and listen to lectures on relevant topics.

(Nishimura Dep. at 14:18-16:1, 27:19-24.)

       23.    Mayo made several attempts at creating websites that could be called a

platform, but those attempts were not successful. (Id. at 47:17-48:9.) Mayo was not able

to build a portal or platform that was acceptable. (Id. at 195:7-196:7.) Instead, Mayo sold

DVDs of some or all of these courses to learners who could not or did not want to attend

a live course (Id. at 23:2-6), but prior to partnering with K2P, Mayo did not offer the

courses as online board review courses. (Id. at 28:2-4, 48:12-14; McAdams Dep. Day 1, Oct.

26, 2022, at 49:12-14.)

       24.    In order to provide online course offerings, I understand that Mayo entered

into contracts with K2P to offer a variety of online courses.

       25.    I understand that in 2018 Mayo did not renew the parties’ contracts as to

three courses referred to as the Cardiovascular Subspecialty Courses. (Declaration of




                                             5
     CASE 0:21-cv-01039-SRN-TNL               Doc. 212    Filed 04/13/23   Page 7 of 31




Mary Ellen Beliveau in Support of Defendant’s Memorandum of Law in Support of Its

Motion for a Preliminary Injunction (“Beliveau Declaration”) ¶ 31.)

          26.      Instead, Mayo launched the new courses through Corporate Web Services

(“CWS”) updated MedEd Manager on or around January 31, 2020. (Counterclaim p. 17,

¶ 63.)

   III.         Communications contemporaneous with the development of MedEd
                Manager, demonstrate that Mayo sought to incorporate the functionality of
                K2P into MedEd Manager.

          27.      As noted above, I have received and reviewed various materials, including

deposition testimony and email communications, that were produced by Mayo during

the course of discovery. Generally, these emails remark upon K2P’s features and

functionality, and Mayo’s desire to incorporate those functions into its own product.

          28.      These communications, for the purposes of this report, may be summarized

as follows:

                a. On March 22, 2018, Teresa Atkinson of Mayo contacted its web

                   development partner, CWS about a “future need to host [Mayo’s] tests

                   online” because “a few of [Mayo’s] courses are not collaborating with K2P

                   in 2019”. (See MAYO_00065873, see also Ex. D-37.) In that same email, Mayo

                   highlighted some of the functionality of the K2P platform, including “…a

                   pre/post test, video/presentation hosting.” (Id.)

                b. On May 1 of 2018, CWS asked for access to the K2P Platform or portal. (Ex.

                   D-16.)




                                                 6
CASE 0:21-cv-01039-SRN-TNL        Doc. 212     Filed 04/13/23    Page 8 of 31




    c. On May 2 of 2018, Teresa Atkinson of May was assigned a “to-do” to

       “provide CWS a way to review the K2P portal.” (Ex. D-17.)

    d. In or around May of 2018, credentials issued by K2P to Mayo to access the

       K2P platform were shared with CWS. In this way, CWS “impersonated”

       Mayo users by logging into the platform so that CWS could “[see] what

       [Mayo] liked and didn’t like”. (See McGinnis Dep. at 127:10-128:22, 138:14-

       21; see also MAYO_00070923, “Meeting To-Dos […] Teresa - Provide CWS a

       way to review the K2P portal”; see also Atkinson Dep. at 25:14-27:14

       confirming Ms. Atkinson gave CWS her log-in credentials to access the K2P

       Platform.)

    e. On May 29, 2018, Ms. Teresa Atkinson contacted Jonny Yucius and Shane

       Kovash of CWS that she registered for three K2P courses including “one

       with the full bells and whistles of the online product.” (See Ex. D-19.) Ms.

       Atkinson also mentioned that these courses will “give you a sense of where

       we’re at with K2P” and said “feel free to take a look.” (Id.) Attached to this

       May 29, 2018 email is a 14-point item list of “Portal Requirements”

       describing functionalities of the K2P Platform. Ms. Atkinson testified she

       was encouraging CWS to access the K2P Platform (see Atkinson Dep. at

       31:22-32:14) and testified that she provided the product requirements to

       CWS so they could develop MedEd Manager using the K2P Platform as “a

       frame of reference” (see Atkinson Dep. at 28:10-30:11).




                                      7
CASE 0:21-cv-01039-SRN-TNL             Doc. 212   Filed 04/13/23   Page 9 of 31




    f. On June 11, 2018, Teresa Atkinson of Mayo contacted Jonny Yucuis of CWS

         and provided a table of “mandatory requirements,” and indicated that they

         “relate to the current K2P portal experience.” (See Ex. D-21.) More

         specifically, the list of requirements included “pretest and post-test”

         functionality, its subfunctions, and others. (Id.)

    g. On January 25, 2019, Lynnea Chelstrom sent an email to Teresa Atkinson

         indicating that “I think we were just coping [sic] K2Ps ‘Agenda’

         functionality, which is set up exactly like the Content Library…”. (See Ex.

         D-39.)

    h. On March 8, 2019, Chelstrom sends an email to CWS, attaching a screenshot

         of the K2P Platform, and inquiring about whether CWS could include

         functionality related to “recommended course materials” (e.g., a feature

         that provides direction for follow up study, based upon the questions that

         users answer incorrectly. (See Ex. D-43.)

    i. On May 15, 2019, Jonny Yucuis of CWS emailed Mayo attaching a

         document entitled “Learning Gateway Phase II items for review”. (See Ex.

         D-25 at CWS_00000368). The document indicates, related to “Pre & Post-

         Assessment analytics report”, that “Possibly look at what K2P does.” (Id.)

    j.   On August 7, 2019, Lynnea Babcock of Mayo sent, internally, notes about

         deconstructing and observing how K2P provides “recommended

         learning.” (See Ex. D-108.)




                                         8
     CASE 0:21-cv-01039-SRN-TNL                 Doc. 212       Filed 04/13/23        Page 10 of 31




          29.      Based upon the materials described above, Mayo instructed CWS to create

a platform that had, among other things:

                a. A content library with a learning track based upon assessments.
                b. Test assessments
                c. Specific content provided to learner based on knowledge gaps identified by
                   tests (personalized learning)
                d. Maintenance of Certification credits
                e. Note taking capability
                f. Option for video or audio presentations.

(See Exhibits D-33, D-39, & D-46.)

          30.      Based upon the materials summarized above, it is my opinion that the K2P

Platform was a directing force in the development of Mayo’s updated MedEd Manager

platform and provided the basis for Mayo’s desired feature set. In short, based on these

materials, it is my opinion that, at a minimum, K2P’s features and functionality were used

to instruct the development of MedEd Manager.

    IV.         The Mayo CV Platform and K2P share functionally equivalent features.

          31.      In addition to evaluating the general timeline of Mayo’s communications

about the K2P platform, I was provided access to both Mayo’s MedEd Manager platform

and K2P’s platform. (See supra. ¶ 14.) This allowed me to evaluate each platform as they

are presented to a user and observe the similarities and differences between them.2 While

this exercise did not provide visibility into the “behind-the-scenes” processes and

functions of the platforms, it was a sufficient basis to observe the features and

functionality of the platforms at the surface level.



2 Access to each platform provided the ability to access numerous courses. I note that I specifically

compared K2P’s course entitled “Mayo Clinic Interventional Cardiology Online Board Review” to the
Mayo CV course entitled “2020 Interventional Cardiology Online Board Review.”


                                                     9
    CASE 0:21-cv-01039-SRN-TNL             Doc. 212        Filed 04/13/23   Page 11 of 31




      32.      I note that, as a matter of design, K2P’s platform and MedEd Manager are

visually different. The two (2) platforms, however, provide a similar user experience

because of the shared features and functions.

      33.      As discussed above, Mayo desired specific functionality for MedEd

Manager, including:

            a. Content recommendations: this feature, in general terms, evaluates a user’s

               performance on an assessment. Essentially, it works by identifying areas for

               improvement,      and    serves     users    with   a   personalized   learning

               recommendation for follow-up study.

            b. Pre-assessment and post-assessment: these assessments are separately

               scored, and as such are used in both the K2P and Mayo platforms as a basis

               to provide metrics about testing improvement.

            c. In-course note taking: a “sub-application” that allows users, within the

               interface, to generate and maintain written notes. This feature gives

               students the choice to take notes within the application, thus obviating the

               need to take notes on paper, or in a separate application like Microsoft

               Word.

            d. Organization of courses in “Learning Libraries”: This is the overall

               organization of the course content and materials, including slides and

               presentations with learning objectives, teaching points, and testing points.

            e. Option to present for video and audio presentations.

            f. Ability to maintain certification credits for medical certification.




                                              10
    CASE 0:21-cv-01039-SRN-TNL           Doc. 212       Filed 04/13/23   Page 12 of 31




            g. Course Evaluations: there is a coded functionality for users to submit

               reviews of the course and instructors.

      34.      These features and functionalities are included in K2P’s platform, and are

also features and functionalities of MedEd Manager. (See Figs. 1-3).




                             Figure 1: Organization of functions




                                             11
    CASE 0:21-cv-01039-SRN-TNL          Doc. 212     Filed 04/13/23   Page 13 of 31




                 Figure 2: K2P Pre/Post-Assessment Scoring and Comparison




            Figure 3: Mayo CV Course Pre/Post-Assessment Scoring and Comparison

                                       Conclusion

      35.      Because 1) Mayo communicated the functionality of K2P when

developing MedEd Manager with its web development partner, and 2) there are

significant functional similarities between MedEd Manager and K2P’s platform, I

conclude that without access to K2P’s platform, Mayo and CWS would not have had a

clear scope of what features and functionality to include in the MedEd Manager




                                            12
    CASE 0:21-cv-01039-SRN-TNL         Doc. 212     Filed 04/13/23   Page 14 of 31




product. In other words, the functionality and features of MedEd Manager were not

conceptualized nor designed from scratch.

      36.    I respectfully reserve the right to supplement or amend this report if

additional materials are provided to me, or additional information is requested.


Executed on: December 14, 2022 in Hennepin County, Minnesota.




                                        ___________________________________
                                           Mark Lanterman




                                            13
CASE 0:21-cv-01039-SRN-TNL   Doc. 212   Filed 04/13/23   Page 15 of 31




                        Exhibit A
        CASE 0:21-cv-01039-SRN-TNL               Doc. 212        Filed 04/13/23        Page 16 of 31




Mark Lanterman
Chief Technology Officer

                                 Professional Biography
Office                           Mark has over 30 years of experience in digital forensics, e-discovery, and
800 Hennepin Avenue              has provided education and training to a variety of audiences. Prior to
5th Floor                        founding Computer Forensic Services in 1998, Mark was a sworn
Minneapolis, MN 55403            investigator with the United States Secret Service Electronic Crimes Task
                                 Force. Both federal and state court judges have appointed Mark as a
                                 neutral computer forensic analyst.
Phone
(952) 924-9220
                                 Mark is a member of the Minnesota Lawyers Professional Responsibility
                                 Board and serves on its Rules & Opinion Committee.
Fax
(952)924-9921
                                 Mark frequently provides training within the legal community, including
Email                            presentations for the United States Supreme Court, Georgetown Law
mlanterman@compforensics.com     School, the 11th Circuit Federal Judicial Conference, the 8th Circuit Federal
                                 Judicial Conference, the American Bar Association, the Federal Bar
Web                              Association, and the Department of Homeland Security, among others.
www.compforensics.com
                                As a member of its faculty, Mark has presented to the entire Federal
                                Judiciary through the Federal Judicial Center. Mark is faculty at the
                                National Judicial College, and is an adjunct instructor in the University of
                                Minnesota’s MSci Security Technologies program. Mark is also a
                                professor of cybersecurity at the Saint Thomas School of Law.

                          Mark provides frequent commentary about cyber security issues for national
                          print and broadcast media, including ABC, Bloomberg, BusinessWeek, CBS, Fox
                          News, NBC, The New York Times, NPR, and the Wall Street Journal.


                          Education and Certifications
                          Upsala College – B.S. Computer Science; M.S. Computer Science

                          Harvard University – Cybersecurity

                          Department of Homeland Security – Federal Law Enforcement Training Center
                          Seized Computer Evidence Recovery Specialist

                          National White-Collar Crime Center – Advanced Computer Forensics

                          Publications
                          Co-author of the E-Discovery and Forensic Desk Book

                          Regular columnist for Bench & Bar magazine
       CASE 0:21-cv-01039-SRN-TNL              Doc. 212      Filed 04/13/23      Page 17 of 31




                   Previous Testimony List – Mark Lanterman

   •   Tumey LLP, et al. v. Mycroft, Inc., et al., 4:21-CV-00113 (W.D. Mo.)
   •   Warren, et al. v. ACOVA, Inc., et al., 27-CV-18-3944, (Henn. Co. Minn.)
   •   Hagen v. Your Home Improvement, LLC, et al., 73-cv-21-2067, (Sterns Co.
       Minn.)
   •   Jane Doe, et al. v. Independent School District 31, 20-CV-00226, (U.S.
       Dist. Ct. Minn.)
   •   Galan v. Munoz, et al., 2019-CI-19143, (Dist Ct. Bexar Co., Texas)
   •   Vision Industries Group, Inc. v. ACU Plasmold, Inc., et al., 2:18-CV-6296,
       (U.S. Dist. Ct. New Jersey)
   •   Troutman v. Great American Hospitality, LLC, 19-CV-878, Stanley Co., N.
       Carolina)
   •   Baxter Insurance Group of Agents, et al. v. Woitalla et al., 27-CV-20-
       16685, (Henn. Co. Minn.)
   •   Sweigart v. Patten, et al., 5:21-cv-00922, (U.S. Dist Ct. E.D. Penn.)
   •   Sarah Hoops v. Solution Design Group, Inc., 27-CV-20-11207, (Henn. Co.
       Minn.)
   •   Stephanie Ramos v. Lazy J Transport, et al., 2018CI21594, (Dist Ct. Bexar
       Co., Texas)
   •   Schwan’s Company, et al. v. Rongxuan Cai, et al., 0:20-SC-2157, (U.S.
       Dist. Ct. Minn.)
   •   Michael D. Tewksbury, as Guardian ad Litem for Miles Chacha and Lulu
       Kerubo Simba v. PODS Enterprises, LLC, et al., 62-CV-20-4209, (Ramsey
       Co., Minn.)
   •   RG Golf v. The Golf Warehouse, 19-CV-00585 (U.S. Dist. Ct. Minn.)
   •   Dunn v. PSD LLC, et al., 02-CV-20-4504, (Anoka Co., Minn.)
   •   Chambers, et al. v. B&T Express, et al., 19-CI-00790, (Franklin Cir. Ct. Ky.
       2d Div.)
   •   Natco Pharma Ltd. V. John Doe, 21-cv-00396-ECT-BRT, (U.S. Dist. Ct.
       Minn.)
   •   Kimberly Clark, et al. v. Extrusion Group, et al., 1:18-cv-04754-SDG, (U.S.
       Dist. Ct. N.D. Ga.)
   •   PalatiumCare Inc. v. Notify, LLC, et al., 2021-cv-000120, (Sheboygan Co.,
       Wis.)



800 HENNEPIN AVE., FIFTH FLOOR MINNNEAPOLIS, MN 55403
T 952-924-9920 U WWW.COMPFORENSICS.COM
        CASE 0:21-cv-01039-SRN-TNL             Doc. 212      Filed 04/13/23       Page 18 of 31




    •   State of Nebraska v. Jeffrey Nelson, CR21-19, (Saunders Co., Nebraska)
    •   Lutzke v. Met Council, 27-CV-19-14453, (Henn. Co. Minn.)
    •   Rivera et al., v. Hydroline, et al., DC-19-143, (Dist. Ct. Duval Co, Texas).
    •   Coleman & Hartman, et al. v. iAMg, et al., 16CV317, (Cir. Ct. Polk Co
        Wis.)
    •   Mixon v. UPS, et al., 2019-CI-13752, (Dist Ct. Bexar Co., Texas)
    •   Goodman v. Goodman, 27-DA-FA-21-672, (Henn. Co. Minn.)
    •   Shaka v. Solar Partnership, 27-CV-20-12474, (Henn. Co. Minn.)
    •   Patel Engineering Ltd. V. The Republic of Mozambique, UNCITRAL PCA:
        2020-21.
    •   Estate of Rima Abbas v. ABDCO, (19-CI-1315), (Fayerette Cir. Ct. Ky. 4th
        Div.)
    •   State of Nebraska v. Jeffrey Nelson, CR21-19, (Saunders Co., Nebraska)
    •   Riccy Mabel Enriquez-Perdomo v. Richard A. Newman, et al., 3:18-CV-
        549, (U.S. W.D. Kentucky)
    •   United States v. Alakom-Zed Crayne Pobre, PX-19-348, (U.S. Dist.
        Maryland)
    •   Lewis v. Northfield Savings Bank, et al., 295-5-19-WNCV, (Vermont, Sup.
        Ct., Washington Div.)
    •   State of Minnesota v. Thomas James Crowson, 13-CR-20-325, (Chisago
        Co., Minn.)
    •   Vimala et al., v. Wells Fargo, et al., 3:19-CV-0513, (U.S. M.D. Tenn.)
    •   In re: Estate of Anthony Mesiti, 318-2017-ET-00340, N.H. 6th Cir.
        Probate Division.
    •   Ernie’s Empire, LLC, et al. v. Burrito & Burger, Inc., et al., 82-CV-20-28,
        (Wash. Co., Minn.)
    •   Sol Brandys v. Wildamere Capital Management LLC, Case No.: 27-CV-18-
        10822, (Henn. Co., Minn.)
    •   State of Minnesota v. Yildirim, Case No. 27-CR-19-7125, (Henn. Co.,
        Minn.)
    •   Jabil v. Essentium, et al., Case No. 8:19-cv-1567-T-23SPF, (U.S. M.D. Fla.)
    •   Lifetouch National School Studios Inc. v. Walsworth Publishing Company,
        et al., (U.S. Dist. Conn.)
    •   Motion Tech Automation, LLC v. Frank Pinex, Case No.: 82-CV-18-5202,
        (Wash. Co., Minn.)
    •   Lundin v. Castillo, et al., Case No.: 2019-CV-000452, (Walworth Co., Wis.)
    •   Yun v. Szarejko-Gnoinska, et al., Case No.: 27-PA-FA-13-967, (Henn. Co.,
        Minn.)




2
        CASE 0:21-cv-01039-SRN-TNL              Doc. 212      Filed 04/13/23      Page 19 of 31




    •   Jonas Hans v. Belen Fleming, Case No.: 27-PA-FA-13-967, (Henn. Co.,
        Minn.)
    •   Daniel Hall, et al. v. Harry Sargeant III, Case No.: 18-cv-80748, (U.S. Dist.
        Ct. S.D. Fl.)
    •   Miller v. Holbert, et al., Case No.: 48-CV-15-2178, (Mille Lacs Co., Minn.)
    •   Strohn, et al. v. Northern States Power Company, et al., Case No.: 18-cv-
        1826-DSD-KMM, (U.S. Dist. Ct. Minn.)
    •   Stamper, et al. v. Highlands Regional Medical Center, Case Nos.: 11-CI-
        1134 & 12-CI-00468, (Commonwealth of Kentucky, Floyd Cir. Co., Div. I).
    •   Patterson Dental Supply, Inc. v. Daniele Pace, Case No.: 19-cv-01940-
        JNE-LIB, (U.S. Dist. Ct. Minn.)
    •   Ryan Rock v. Jonathan Sargent and The Sargent Group, Inc. d/b/a Todd &
        Sargent, Inc., Case No. LACV050708, Dist. Ct. Story Co., Iowa.
    •   Oscar Alpizar v. Eazy Trans, LLC, et al., Case No.: 2018CI00878, (Dist Ct.
        Bexar Co., Texas)
    •   MatrixCare v. Netsmart, Case No.: 19-cv-1684, (D. Minn.)
    •   State of Minnesota v. Nathan Roth, Case No.: 80-CR-18-1007, (Wadena
        Co., Minn.)
    •   Parisi v. Wright, Case No.: 27-CV-18-5381, (Henn. Co., Minn.).
    •   Lloyd C. Peeoples, III v. Carolina Container, LLC, U.S. N. Dist. Geor., Case
        No.: 4:19-cv-00021
    •   Sandra Wolford, et al. v. Bayer Corp., et al., Action No. 16-CI-907, 17-CI-
        2299, Commonwealth of Kentucky, Pike Cir. Ct. Div. I. (2019)
    •   BuildingReports.com, Inc. v. Honeywell International, Inc., Case No.:
        1:17-cv-03140-SCJ, (U.S. Dist. Ct. N.D. Ga.)
    •   Evan D. Robert and Dr. Kerry B. Ace v. Lake Street Cafeteria, LLC, et al.,
        Case No: 27-CV-17-18040, (Henn. Co., Minn.)
    •   State of Minnesota v. Andrew Seeley, Case No.: 14-CR-17-4658, (Clay
        Co., Minn)
    •   McNutt & Company v. Focus Engineering, et al., Case No.: CV-2018-
        900432.00, Cir. Ct. Lee County, Alabama.
    •   In re: City of Eden Prairie and Law Enforcement Labor Services Inc., BMS
        Case #19-PA-0530 (2019).
    •   State of Minnesota v. Stephen Allwine, Case No.: 82-CR-17-242, (Wash.
        Co., Minn.)
    •   PMT v. Wade Fredrickson, Case No.: 27-CV-18-4364, (Henn. Co., Minn.)
    •   Stratasys, Inc. v. Christopher Krampitz, Case No.: 0:17-cv-05524-DSD-HB,
        (D. Minn.)




3
        CASE 0:21-cv-01039-SRN-TNL             Doc. 212      Filed 04/13/23      Page 20 of 31




    •   State of North Dakota v. Connor Brennan, (Court File No.: 17300214),
        (Grand Forks Co., ND)
    •   U.S. v. Farber, Case No.: 1:2017-cr-00188-320735, (E.D. Cal.)
    •   In re: the Marriage of: Amanda Jo Briggs and Kent Stewart Mitchell
        Briggs, Case No.: 27-FA-17-3414, (Henn. Co., Minn.)
    •   Edgewell Personal Care Company v. Michael O’Malley, (Superior Court
        (Judicial District of Ansonia at Milford) No. AAN-CV-176025160-S)
    •   East Coast Test Prep, L.L.C. d/b/a Achieve Test Prep and Mark Olynyk, v.
        Allnurses.com, Inc., and David R. Smits, as Administrator of the Estate of
        Brian Short, ABC Companies 1-10 and John Does 1-10, Case No.: 0:15-
        cv-03705-JRT-SER (D. Minn.)
    •   DTN, LLC, v. Matthew Walsh, Case No. 0:17-cv-5206(SRN)(HB) (D. Minn.)
    •   In Re the Matter of: Wainaina Kamau and Ruth Marionya Kamau, Court
        File No: 27-DA-FA-18-5521 (Dist. Ct. Hennepin County, Minn.).
    •   Nagios Enterprises, LLC, vs. Mary Starr, et al. Court File No: 62-CV-16-
        3280, (Dist. Ct. Ramsey County, Minn.)
    •   Larry Novack v. David Rios and United Parcel Service, Inc. (TX Dist. CT.,
        57th Dist. (Bexar County, Texas) No. 2016-CI-12388)
    •   Mylan Pharmaceuticals Inc., Petitioner v. Sanofi-Aventis Deutschland
        GMBH Patent Owner (United States Patent and Trademark Office) U.S.
        Patent Nos. 7,476,652 and 7,713,930-IPR2017-01526/IPR2017-01528)
    •   Elisabeth Ostendorf v. Michigan State University and the Board of
        Trustees of Michigan State University, (State of Michigan (In the court of
        claims) No. 15-47-MZ)
    •   Elyse Puklich v. Blayne Puklich, (Burleigh Co., ND) No. 08-2014-CV-00029)
    •   Jeffrey Ketchum and Anniken Ketchum vs. Home-Owners Insurance; D &
        L Janitorial Supply, Inc. (MI 47th Circuit Court (Delta Co.) No. 15-22960-
        CB)
    •   Parsons Electric L.L.C vs. Integrated Building Solutions L.L.C., Paul Kelly,
        Kristopher Kelly, Troy Stanislawski, and Jack Tucker (MN Dist. CT., 10th
        Dist. (Anoka Co.) No. 02-CV-16-2644)
    •   State of Minnesota vs. Erin Marie Hennessey, (MN Dist. CT., 10th Dist.
        (Washington Co.) No. 82-CR-16-2208)
    •   The Hays Corporation vs. Barry Peters, et al. (In The Circuit for
        Montgomery Co., Maryland)
    •   International Chemtex Corporation vs. Jennifer Lassiter, John Hofstad,
        and Sustainable Water Treatment, LLC (United States Dist. Court (Dist. of
        MN)




4
        CASE 0:21-cv-01039-SRN-TNL             Doc. 212      Filed 04/13/23       Page 21 of 31




    •   David Rubenzer and La La La, LLC vs. City of Burnsville (MN Dist. CT., 1st
        Dist. (Dakota Co.) No. 19HA-CV-15-3743)
    •   State of Minnesota vs. John Frederick Thorene, IV (MN Dist. Ct., 6th Dist.
        St. Louis Co.) No. 69DU-CR-15-3038)
    •   Nu-Look Exteriors, Inc. vs. Brett A. Looney, Mark A. Peare, Julie A. Young,
        f/k/a Julie A. Strot, Stephen B. Martin, and 4 Corner Architectural Sheet
        Medal, Inc. (MN Dist. CT., 1st Dist. (Dakota Co.) No. 19HA-CV-15-432)
    •   Brook Mallak v. Aitkin County, et al., (United States District Court of
        Minnesota, No. 13-CV-02119 DWF/LIB)
    •   Jonathan Scarborough v. Federated Mutual Insurance Company, (United
        States District Court (Dist. of MN) No: 0:15-cv-01633 -DWF/FLN)
    •   Future Motion, Inc. vs. Changzhou First International Trade Co., LTD,
        (United States District Court (Dist. of NV) No. 2:16-cv-00013-MMD-CWH)
    •   In re the Marriage of: Catherine Ann Ivey and John Raymond Ivey, (State
        of Minnesota (Hennepin Co.) No. 27-FA-15-7650)
    •   Bay Side Recycling Co., et al. v. SKB Environmental, Inc., Case No.: 14-CV-
        4550 (SRN/LIB), (U.S. Dist. Ct. Minn.).
    •   United States of America v. Khaalid Adam Abdulkadir, (United States
        District Court (Dist. of MN) No: 15-mj984 KES)
    •   Kimberly Kay Seidel and Trevor Carlton Seidel, (MN Dist. Ct., 10th Dist.
        (Anoka Co.) No. 02-FA-15-2022)
    •   Dexon Computer, Inc. v. Modern Enterprise Solutions, Inc., Timothy
        Durant, and Andrew Uzpen, (MN Dist. Ct., 4th Dist. (Hennepin Co.) No.
        27-CV-15-17171)
    •   Golden Supply, Inc., a Minnesota Corporation v. Jeffrey Hunt and Ken
        Aronckes, (MN Dist. Ct. 4th Dist. (Hennepin Co.) No. 27-CV-15-1625)
    •   Jerry Wilkinson and Karen Wilkinson v. State Farm Fire and Casualty
        Company, (U.S. Dist. Ct. E.D. Wis.) Case No. 14 CV 1187)
    •   Greiner Construction, Inc. vs. Bert Westerman et al., (MN Dist. Ct., 4th
        Dist. (Hennepin Co.)
    •   Samantha Orduno, et. al. v. Richard Pietrzak, et al. (United States District
        Court (Dist. of MN) No. 0:14-cv-01393-ADM-JSM)
    •   Zimmer, Inc. v. Stryker Corporation; Howmedica Osteonics Corp. d/b/a
        Stryker Orthopedics; and Cody Stovall. (United States District Court
        (Northern District of Indiana of Indiana South Bend Division) Case No.
        3:14-cv-00152-JD-Can)
    •   Robert Half International Inc., v. Donna Farrugia, et al. (Superior court of
        State of California (San Francisco Co.) No. CGC-14-539338)




5
        CASE 0:21-cv-01039-SRN-TNL              Doc. 212      Filed 04/13/23       Page 22 of 31




    •   Emergent Systems Exchange, LLC, vs. Daniel Ray McGinnis, et al., (MN
        Dist. Ct., 4th Dist. (Hennepin Co.) No. 27-CV-147338)
    •   Tristan Connor Damron v. John E. Norris, et. al., (Ala. Circuit Court
        (Elmore Co.) No. CV11-900259.00)
    •   Curtis Trude, et al. v. Glenwood State Bank, et al. (MN Dist. Ct., 8th Dist.
        (Meeker Co.) No. 47-CV-12-176)
    •   Pioneer Home, Inc. v. American Federal Bank, (MN Dist. Ct., 7th Dist.
        (Hennepin Co.) No. 56-CV-13-3353)
    •   Prosthetic Laboratories of Rochester, Inc., v. Brandon Sampson, et al.,
        (MN Dist. Ct. 3rd Dist. (Hennepin Co.) No. 55-CV-133625)
    •   Jenine Ellison v. Advanced Surgery Center of Palm Beach Count, LLC,
        (15th Circuit Court (Palm Beach County), Florida. No:
        502011CA020861XXXXMB.)
    •   JIT Companies, Inc. v. Erik Edwin Swanson, (MN Dist. Ct., 3rd Dist.
        (Hennepin Co.) No. 66-CV-132532)




6
       CASE 0:21-cv-01039-SRN-TNL              Doc. 212       Filed 04/13/23        Page 23 of 31




                    Publications List – Mark Lanterman

Bench & Bar of Minnesota

How the American Choice and Innovation Online Act may affect cybersecurity,
July 2022

Smishing attacks and the human element, May/June 2022

Still on the defensive, More on the Missouri website vulnerability investigation,
April 2022

What we can already learn from the Cyber Safety Review Board, March 2022

The Log4j vulnerability is rocking the cybersecurity world. Here’s why.,
January/February 2022

On the defensive: Responding to security suggestions, December 2021

Go fish? Proportionality revisited, November 2021

Mailbag: Cybersecurity Q+A, October 2021

The NSA advisory on brute force attacks, September 2021

Security is a team game, August 2021

Improving national cybersecurity, July 2021

Apple’s new iOS strikes a blow for data privacy, May/June 2021

Geofence warrants, The battle is just beginning, April 2021

Ransomware and federal sanctions, March 2021

The SolarWinds breach and third-party vendor security, February 2021


PENCE BUILDING, 800 HENNEPIN AVENUE, 5TH FLOOR, MINNEAPOLIS, MN 55403
T 952-924-9920 U WWW.COMPFORENSICS.COM
       CASE 0:21-cv-01039-SRN-TNL                Doc. 212     Filed 04/13/23   Page 24 of 31




Considerations in cloud security, January 2021

Deciding when to use technology-assisted review, December 2020

How to avoid an old scam with a new twist, November 2020

Your back-to-school tech brush-up, October 2020

The Twitter breach and the dangers of social engineering, September 2020

Cyber risk: Is your data retention policy helping or hurting?, August 2020

Cyber riots and hacktivism, July 2020

Working from home and protecting client data, May/June 2020

Cybersecurity in pandemic times, April 2020

Business continuity and coronavirus planning, March 2020

Doxxing made easy: social media, March 2020

Taking responsibility for your cybersecurity, February 2020

Beyond compliance: Effective security training, January 2020

Doxxing redux: The trouble with opting out, December 2019

Proportionality and digital evidence, November 2019

AI and its impact on law firm cybersecurity, October 2019

Too secure? Encryption and law enforcement, September 2019

Security, convenience and medical devices, August 2019

Physical security should be part of your incident response plan, July 2019

“Papers and effects” in a digital age, pt II, May/June 2019



2
       CASE 0:21-cv-01039-SRN-TNL              Doc. 212     Filed 04/13/23       Page 25 of 31




Security considerations for law firm data governance, April 2019

Third-party vendors and risk management, March 2019

The Marriott breach: four years?, February 2019

“Papers and effects” in a digital age, co-authored with Judge (Ret.) Rosenbaum,
January 2019 (Republished in The Computer & Internet Lawyer)

The Chinese spy chip scandal and supply chain security, December 2018
(Republished in The Computer & Internet Lawyer)

Don’t forget the inside threat, November 2018

Cyberattacks and the costs of reputational harm, October 2018

Fair elections and cybersecurity, September 2018

E-discovery vs. forensics: Analyzing digital evidence, August 2018

Social media and managing reputational risk, July 2018

Managing Cyber Risk: Is cyber liability insurance important for law firms?,
May/June 2018 (Republished in The Computer & Internet Lawyer)

Social engineering: How cybercriminals capitalize on urgency, April 2018

Stephen Allwine: When crime tries to cover its digital tracks, March 2018

Is the Internet of Things spying on you?, February 2018

#UberFail, January 2018

Ransomware: To pay or not to pay?, December 2017

How digital evidence supported gerrymandering claims, November 2017

Facial recognition technology brings security & privacy concerns, October 2017




3
       CASE 0:21-cv-01039-SRN-TNL              Doc. 212      Filed 04/13/23       Page 26 of 31




Putting communication and clients first in digital forensic analysis, September
2017

Digital evidence: New authentication standards coming, August 2017

Your Personal Data – Or is it? Doxxing and online information resellers pose
threats to the legal community, May/June 2017

What You Don’t Know Can Hurt You: Computer Security for Lawyers, March 2014

Minnesota Lawyer

Phishing, vishing and smishing – oh, my!, January 2018

Equifax was unprepared for a data breach, September 2017

Cybersecurity and forensic application in cars, July 2017

Preventing ‘spear-phishing’ cyber attacks, May 2017

Opting out when private information goes public, March 2017

Are fingerprints keys or combinations?, February 2017

Digital Forensics and its role in data protection, February 2017

Acknowledge the security issues, December 2016

Modern life is driven by the internet of things, November 2016

Are medical devices vulnerable to hackers?, October 2016

Digital evidence as today’s DNA, September 2016

Colorado Lawyer

Is Emailing Confidential Information a Safe Practice for Attorneys?, July 2018
(Republished in The Journals & Law Reviews database on WESTLAW)




4
       CASE 0:21-cv-01039-SRN-TNL             Doc. 212     Filed 04/13/23        Page 27 of 31




International Risk Management Institute, Inc. (IRMI)

Evolving Threats? Assess and Update Security Measures, June 2022

Cyber Security and the Russian Invasion of Ukraine, April 2022

Thoughts on the FBI Email Compromise—and Lessons Learned, January 2022

Ransomware, National Cyber Security, and the Private Sector, October 2021

Standardization Matters in Establishing a Strong Security Posture, June 2021

Third-Party Vendor Risk Management, March 2021

The Importance of (Remote) Security Culture in Mitigating Risks, December 2020

Security from Home: Continuing to Work and Learn Amid COVID-19, September
2020

Operational Risk Revisited in the Wake of COVID-19, June 2020

Cyber Threats and Accounting for Operational Risk, March 2020

Human Aspect of Incident Response Investigations, January 2020

The Impact of Digital Incompetency on Cyber-Security Initiatives, September
2019

Communication in Responding to Cyber Attacks and Data Breaches, June 2019

Cyber Security and Resilience, January 2019

Leadership in Developing Cultures of Security, September 2018

Real-Life Consequences in a Digital World: The Role of Social Media, July 2018

Some Thoughts on the Dark Web—and How it Affects You, March 2018

Personal Information and Social Media: What Not to Post, September 2017




5
       CASE 0:21-cv-01039-SRN-TNL              Doc. 212    Filed 04/13/23      Page 28 of 31




Managing Doxxing-Related Cyber Threats, July 2017

Understand the Layers of Cyber-Security and What Data Needs Protecting,
March 2017

Learn about the Internet of Things: Connectivity, Data, and Privacy, January 2017

Assessing Risk and Cyber-Security, September 2016

SCCE The Compliance & Ethics Blog

The Components of Strong Cybersecurity Plans: Parts 1-5, 2017

Prevention Is the Best Medicine, August 2016

Lawyerist

Detection: The Middle Layer of Cybersecurity, April 2017

Don’t Be Too Hasty! What to Do When an Email Prompts You to Act Quickly,
February 2017

How to Avoid Spoofing, Spear Phishing, and Social Engineering Attacks, October
2016

Law Practice

The Dark Web, Cybersecurity and the Legal Community, July/August 2020

Captive International

COVID-19 and the importance of the cyber captive, April 2020

Attorney at Law Magazine

The Digital Challenges of COVID-19, June 2020

E-Discovery Deskbook




6
       CASE 0:21-cv-01039-SRN-TNL              Doc. 212   Filed 04/13/23   Page 29 of 31




Chapter Thirteen “Forensic Experts—When and How to Leverage the Talent” co-
authored with John M. Degan Briggs and Morgan, P.A.

The Complete Compliance and Ethics Manual 2022

Cybervigilance in Establishing Security Cultures




7
     CASE 0:21-cv-01039-SRN-TNL         Doc. 212        Filed 04/13/23   Page 30 of 31




                            Exhibit B – Materials Considered


•   Complaint
•   Answer and Counterclaims
•   CWS_00000015
•   CWS_00000017-18
•   K2P0003605
•   K2P0130972
•   K2P0165614
•   K2P0287210
•   K2P0286879
•   K2P0435818
•   MAYO_00063795
•   MAYO_00065873
•   MAYO_00067300
•   MAYO_00068669
•   MAYO_00070923
•   2022 04 19 DI 097 Declaration of Kara Sasse (Sealed)
•   2022 04 19 DI 116 Declaration of B. Price Kerfoot
•   2022 04 19 DI 116-1 Exhibit A-B to Price Kerfoot Declaration
•   2022 03 29 DI 095 Declaration of Mary Ellen Beliveau (Sealed)
•   Deposition Transcript of CWS 30(b)(6) Justin McGinnis dated 09/28/22 with
    Defendants’ Deposition Ex. Nos. 14-17; 19; 21; 24-26; 31; 33; 36
•   Deposition Transcript of Teresa Atkinson dated 09/30/22 with Defendants’
    Deposition Ex. Nos. 37-43; 46; 62
•   Deposition Transcript of Lynnea Babcock dated 11/04/22 with Defendants’
    Deposition Ex. Nos. 99; 10; 108
•   Deposition Transcripts of Julie McAdams dated 10/26/22 and 12/16/22 with
    Defendants’ Deposition Ex. Nos. 90; 92; 177-178
•   Deposition Transcript of Dr. Rick Nishimura dated 11/16/22 with Defendants’
    Deposition Ex. Nos. 168;172-174; 176
    CASE 0:21-cv-01039-SRN-TNL               Doc. 212   Filed 04/13/23     Page 31 of 31




                               CERTIFICATE OF SERVICE



           I hereby certified that on December 14, 2022, I caused a true and correct copy of

                            Expert Report of Mark Lanterman

  to be served on below counsel via email:

    Andrew Brantingham
    brantingham.andrew@dorsey.com
    Alan J. Iverson
    iverson.alan@dorsey.com
    Donna Reuter
    reuter.donna@dorsey.com
    Nathan Ebnet
    ebnet.nathan@dorsey.com




Dated: December 14, 2022                           s/ Ariel O. Howe
                                                      Ariel O. Howe
